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IN THE UNITED STATES DISTRICT COURT FOR The
NORTHERN DISTRICT OF OKLAHOMA” >
f

UNITED STATES OF AMERICA, ) L EB
Plaintifé, ) ug fn. “Rey
v. } Case No. 03-CR-55-EA 4 ner Sioe.
EDDY PATTERSON and ) oO
JUDITH PATTERSON, _ )
)
Defendants. )

UNITED STATES’ SECOND NOTICE OF INTENT —
TO INTRODUCE RULE 404(b) EVIDENCE ~
AND BRIEF IN SUPPORT

The United States, by United ‘States Attorney, David E. Q’Meilia, and Assistant
United States Attorney, Melody Noble Nelson, for its Second Notice of Intent to Introduce
Federal Rules of Evidence Rule 404(b) evidence and Brief in Support states:

Notice of Evidence

The United States hereby files Notice with the Court that it intends to introduce Rule
404(b) evidence at trial. The United States will introduce testimony by two witnesses, Dale —
Watts and Richards Washburne. The testimony will consist generally of the witnesses’
knowledge about the 1979 investigation and subsequent Indictment in, Dallas County, Texas
charging Defendant Eddy Patterson and Dale Watts with theft over $10,000.00 for false
invoices sold to Richards Capital, a company owned by Richards Washbume. False invoices
were created by Mr. Watts and Defendant Eddy Patterson and sold to Richards Capital. ™ -

some instances, the same false invoices were sold several times to Richards Capital. In other
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instances, invoices were created without any work being done. The ‘indictincat was
subsequently dismissed. The United States offers this evidende to prove intent, knowledge
and lack of mistake.
Argument

Federal Rules of Evidence 404 prohibits the admission of evidence of other crimes,
wrongs or acts to demonstrate the bad character, However, Fed. R. Evid. 404(b) allows such
evidence for other approved purposes including, identity, plan, opportunity motive, intent,
lack of mistake or knowledge. In determining if the evidence is admissible under Fed. R.
Evid. 404(b), courts apply the four considerations set out in Huddleston v. Un ited States, 485
U.S. 681 919 (1988). Those considerations are:

(1) the evidence must be offered for a proper purpose;

(2) the evidence must be relevant;

(3) the trial court must make a Rule 403 determination of whether the
probative value of the similar acts is substantially outweighed by its
potential for unfair prejudice; and

(4) pursuant to Fed. R. Evid. 105, the trial court Shall, upon request,
instruct the jury the evidence of similar acts is to be considered only for
the proper purpose for which it was admitted.

Huddleston, 485 U.S. at 691,

I. The 404(b) evidence is offered for proper purpose

Defendant Eddy Patterson is charged in Counts 20-27 of the Indictment with various

securities violations in connection with the inclusion of false invoices into the financial

staternents of NESCO, a Tulsa based publicly traded corporation, 1 2000 and 2001. ‘These

false invoices caused the financial condition of NESCO to be overinflated and led to the

bankruptcy of the corporation in 2001. It is anticipated the evidence at trial will show
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Defendant Eddy Patterson, then Chief Executive Officer of NESCO, and the NESCO-
Comptroiler had false. invoices créated and entered into NESCO’s 2000 and 2001 financial
documents, causing substantial overstatement of the corporati on’s acéétints receivables. At
the time of the false invoices, a private company was in negotiations to purchase NESCO.

The 404(b) evidence of the previous false invoices is offered to prove Defendant —
Eddy Patterson had the intent and knowledge of the falsifying of invoices. In addition,
should Defendant Eddy Patterson’s defense be mistake, the evidence will be used to show _
lack of mistake.

Federal Rules of Evidence 404 states: “‘Relevant Evidence’ means evidence having
any tendency to make the existence of any fact that is of consequence to the determination
of the action more probable or less probable than it would be without the evidence.” -

Evidence of previous false invoices is relevant to show Defendant Eddy Patterson
knew how to prepare false invoices and how to do it in such a way that it would not be
detected by accounting records. In addition, the creation of the 1979 false invoices are
relevant to show Defendant Eddy Patterson had knowledge of false invoicing and therefore,
was in a better position to recognize such practices when they were a part of NESCO’s
accounting practice.

Although there is a time lapse between the Richards Capital false invoicing and the
charged acts, the Tenth Circuit has held, “[t]here is no absolute rule regarding the number
of years that can separate offenses: Rather, the court applies a reasonableness standard and

examines the fact and circumstances of each case.” United States v. Franklin, 704 F.2d
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1183, 1189 (10" Cir. 1983). See, United States v, Massey, 48 F.3d 1560, 1571-1572 (10%
Cir, 1995).

The similarity between the Richards Capital incident and the acts charged in the ©
indictment are striking. Both incidents involved Defendant Eddy Patterson using another
individual as a “front person”. Both incidents involve falsifying invoices for the financial
gain of the two companies Defendant Eddy Patterson had an interest in. In addition, in the
realm of white collar criminal prosecutions, it is not unusual for periods of time to pass
between criminal acts. The near prosecution of the 1979 invoicing scheme seems to have
deterred Defendant Eddy Patterson until NESCO’s financial problems and negotiations to
sell put Defendant Eddy Patterson and the Comptroller in a position to inflate the financial

records.

iH. The probative value of the. act substantial outweighs’ any potential for unfair

prejudice
In determining if the probative value of the evidence substantially outweighs any
potential for unfair prejudice, the Tenth Circuit has stated: _

Evidence is unfairly prejudicial if it makes a conviction more .
likely because it provokes an emotional response in the jury or
otherwise tends to affect adversely the jury’s attitude toward the
defendant wholly apart from its judgment as to his guilt or
innocence of the crime charged. .

United States v. Rodriguez, 192 F.2d 946, 951 (10" Cir. 1999).
While 1979 false invoicing scheme is prejudicial to Defendant Eddy Patterson, it is
not substantially prejudicial to the level that it outweighs its probative value. The

Government must prove at trial that Defendant Eddy Patterson was aware of and participated
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in the actions of his co-conspirator in NESCO. The 1979 false invoicing is important
because is evidence that Defendant Eddy Patterson had previously employed a false
invoicing scheme.

IV. Upon request, the Court can instruct the jury the evidence is to be considered only
for the proper purpose a oe

Should Defendant Eddy Patterson request, the court will sive ‘ limiting instruction
directing the jury that the 404(b) evidence may only be considered for the limited purpose
of establishing Defendant Eddy Patterson’s intent, knowledge and lack of mistake of the
charged securities violations.
Conclusion

Therefore, based upon the four considerations identified in' Hi uddleston, this
proffered evidence is properly admissible in the trial.

- Respectfully submitted,

DAVID E. O’MEILIA
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CERTIFICATE OF SERVICE so
Thereby certify that on the OM riay of October, 2003, I caused to be mailed a
true and correct copy of the above and foregoing document to the following with proper
postage prepaid: :

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